Case 5:16-cv-10444-JEL-MKM ECF No. 1150 filed 05/21/20   PageID.28165   Page 1 of 4




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


   In re Flint Water Cases.               Judith E. Levy
                                          United States District Judge
   ________________________________/

   This Order Relates To:

   ALL CASES

   ________________________________/

   ORDER REGARDING MATTERS DISCUSSED AT THE MAY 20,
               2020 STATUS CONFERENCE

           The Court held a status conference regarding its pending Flint

  Water litigation on May 20, 2020. The Court now orders as follows:

     I.      In re Flint Water Cases Discovery Coordination

           The parties are still negotiating the reallocation of deposition

  timing with the addition of the United States as a Defendant in the Flint

  Water Cases and will report to the Court once an agreement has been

  reached.

     II.     Individual Legionella Cases

           The Court will hold a discovery conference call on Wednesday, June

  3, 2020 at 2:00pm to discuss how to proceed with legionella discovery in
Case 5:16-cv-10444-JEL-MKM ECF No. 1150 filed 05/21/20   PageID.28166   Page 2 of 4




  state and federal cases. The parties may submit a combined document

  outlining their agreement, and if an agreement cannot be reached, then

  their positions by Monday, June 1, 2020 at 2:00pm. Counsel for McLaren

  will take the lead in preparing and submitting this document.

        In the Court’s order following the April 15, 2020 Status Conference,

  it set forth a briefing schedule for any remaining legionella cases

  following its ruling in Marble v. Snyder, 17-cv-12942 and Brown v.

  Snyder, 18-cv-10726. (ECF No. 1104.) Several Defendants sought

  clarification on how to respond to these cases, and the Court now orders

  as follows:

        Plaintiffs in any remaining legionella cases have until June 3, 2020

  to amend their complaint, utilizing the Short Form Complaints and

  adopting the operative Master Complaint. See Walters, 17-cv-10164 (ECF

  No. 185-2.) Defendants will have until June 17, 2020, to answer, file a

  motion to dismiss, or file a responsive pleading in these cases. To the

  extent that Defendants file a motion to dismiss, they should limit their

  briefing to any claims or arguments not fully addressed by the Court in

  Marble, Brown, Walters v. Flint, 17-cv-10164, and Sirls v. Michigan, 17-

  cv-10342.


                                       2
Case 5:16-cv-10444-JEL-MKM ECF No. 1150 filed 05/21/20   PageID.28167   Page 3 of 4




     III. Motion to Amend the Third Amended Case Management
          Order

          Interim Co-Liaison Counsels’ unopposed motion to amend the Third

  Amended Case Management Order deadlines for the bellwether trial

  schedule is granted. (ECF No. 1143.) January 25, 2021 is the initial

  bellwether trial date, starting at 8:30am.

     IV.    Video Telephonic Discovery Conferences

          The following dates are set for discovery conferences: June 3, 2020

  at 2:00pm and June 17, 2020 at 2:00pm. The Court will provide Zoom

  connection information in the pre-conference agendas that will be

  entered in Case No. 16-cv-10444.

     V.     Scheduling of Next Status Conference

          The Court will hold a video status conference in these cases using

  Zoom on Wednesday, June 24, 2020 at 3:00pm. Parties are to file

  proposed agenda items in Case No. 16-cv-10444 by June 10, 2020.

  Individual liaison counsel should collect proposed agenda items from all

  counsel representing individual plaintiffs and submit those proposed

  items as a single filing. The Court will issue an agenda by June 17, 2020.

          IT IS SO ORDERED.

  Dated: May 21, 2020                       s/Judith E. Levy
  Ann Arbor, Michigan                       JUDITH E. LEVY
                                        3
Case 5:16-cv-10444-JEL-MKM ECF No. 1150 filed 05/21/20   PageID.28168   Page 4 of 4




                                           United States District Judge

                       CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was served
  upon counsel of record and any unrepresented parties via the Court s
  ECF System to their respective email or First Class U.S. mail addresses
  disclosed on the Notice of Electronic Filing on May 21, 2020.

                                           s/William Barkholz
                                           WILLIAM BARKHOLZ
                                           Case Manager




                                       4
